 Case 1:18-cv-00124-GJQ-RSK ECF No. 73 filed 10/17/18 PageID.526 Page 1 of 1



                            UNITED STATES DISCTICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

DANIEL WILLIAM RUDD,

             Plaintiff,
                                                     Case No. 1:18-cv-00124-GJQ-RSK
     vs.
                                                     HON. GORDON J. QUIST

NORTON SHORES, CITY OF, et al.,

             Defendants.

                                             /

Declaration in Support of Plaintiff’s 10/16/18 Repsonsive Brief (ECF No. 72)
Plaintiff, Daniel William Rudd, has filed his Brief Opposing the dispositive motions submitted
by the Defendants ((ECF Nos. 53, 58, 60). Plaintiff declares and affirms that attached Exhibits
A-F are true and accurate copies of the documents and communications referenced and relied
upon in Plaintiff’s filings.

Exhibit A: 10/3/2013 Email Message from: Chief Shaw, to Mark Meyers & Ofc. Wasilewski

Exhibit B: 7/28/2015 Email Message from: Melissa Meyers to Plaintiff Daniel Rudd’s Counsel
In the state court proceedings: (Attorneys Rachel Terpstra & Brianna Scott)

Exhibit C: 10/20/2015 Motion for Declaratory and Injunctive Relief 13-257503-PH
filed by Plaintiff Rudd in the State Court Proceedings (includes State Court Exhibits A-F)
        State Court Exhibit A: Proposed Findings of Fact and Conclusions of Law
        State Court Exhibit B: Proposed Order to remove LEIN Entry
        State Court Exhibit C: Excerpts of November 26, 2013 Hearing Transcript
        State Court Exhibit D: Text Message Rudd Received While Coaching Soccer, July 2015
        State Court Exhibit E: Excerpts of January 23, 2014 Hearing Transcript
        State Court Exhibit F: 8/31/15 Automated Letter from MSP re: Stalking/PPO Entry

Exhibit D: 11/9/2015 TRANSCRIPT of State Court Hearing RE: Criminal Contempt
& Rudd’s Motion For Declaratory/Injunctive Relief 13-257503-PH

Dated: 10/16/18
                                                /s/ Daniel W. Rudd
                                     Plaintiff (Pro Se), registered for ECF filing
                                     daniel@stock20.com (231) 557-2532
                                     201 S Lake Ave. Spring Lake, MI 49456
